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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
      AMAZON.COM, INC., a Delaware corporation,
 9    and OTTER PRODUCTS, LLC, a Colorado                        No. C18-350 RSM
      limited liability company,
10
                             Plaintiffs,                         STIPULATED PERMANENT
11                                                               INJUNCTION
             v.
12
      NGULLEN ALEJANDRO RIVERA, an
13    individual, NGS ICOMMERCE ENTERPRISES
      CORP., a Florida Corporation, and JOHN DOES
14    1–10,
15                           Defendants.
16

17                                            STIPULATION
18           Plaintiffs Amazon.com, Inc. and Otter Products, LLC, and Defendants Ngullen
19    Alejandro Rivera and NGS ICommerce Enterprises Corp., by and through their respective
20    counsel of record, hereby stipulate and agree to entry of the permanent injunction below in
21    connection with a settlement of all claims in this case.
22           //
23           //
24           //
25           //
26           //
27

     STIPULATED PERMANENT INJUNCTION - 1                                        Davis Wright Tremaine LLP
                                                                                         L AW O F FI CE S
     (2:18-cv-00350-RSM)                                                           920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax
              Case 2:18-cv-00350-RSM Document 23 Filed 02/28/19 Page 2 of 3




 1           DATED this 26th day of February, 2019.

 2
       DAVIS WRIGHT TREMAINE LLP                           LEXERO LAW
 3     Attorneys for Plaintiffs Amazon.com, Inc. and       Attorneys for Defendants Ngullen Alejandro
       Otter Products, LLC                                 Rivera and NGS ICommerce Enterprises Corp.
 4

 5     By s/ Bonnie E. MacNaughton                         By s/ Eric J. Menhart
          Bonnie E. MacNaughton, WSBA #36110                  Eric J. Menhart, Esq. (Pro Hac Vice)
 6        James H. Wendell, WSBA #46489                       316 F Street NE, Suite 101
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10                                                             Bainbridge Island, WA 98110
                                                               Tel: 206-605-1424
11                                                             Email: edraluck@gmail.com
12

13
                                       PERMANENT INJUNCTION
14
             Pursuant to the above stipulation of the parties, IT IS SO ORDERED that Defendants
15
      Ngullen Alejandro Rivera and NGS ICommerce Enterprises Corp., and their directors,
16
      principals, officers, successors and assigns, and all others in active concert or participation with
17
      them, are enjoined and restrained from:
18
             1.      Using any trademarks registered by or otherwise associated with Otter Products,
19
      LLC (the “Otter Products Trademarks”) or any simulation, reproduction, counterfeit, copy, or
20
      colorable imitation of the Otter Products Trademarks, in any manner in connection with the
21
      manufacture, assembly, production, distribution, offering for distributing, circulation, sale,
22
      offering for sale, import, advertisement, promotion, or display of any product by Otter
23
      Products;
24
             2.      Advertising, selling, or facilitating the advertisement or sale of, via the Internet
25
      or otherwise, any Otter Products product or any products bearing any of the Otter Products
26

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     STIPULATED PERMANENT INJUNCTION - 2                                           Davis Wright Tremaine LLP
                                                                                            L AW O F FI CE S
     (2:18-cv-00350-RSM)                                                              920 Fifth Avenue, Suite 3300
                                                                                        Seattle, WA 98104-1610
                                                                                 206.622.3150 main · 206.757.7700 fax
              Case 2:18-cv-00350-RSM Document 23 Filed 02/28/19 Page 3 of 3




 1    Trademarks, and shall not use any of the Otter Products Trademarks, in any manner, including

 2    advertising on the Internet;

 3           3.      Manufacturing, assembling, producing, distributing, offering for distribution,

 4    circulating, selling, offering for sale, advertising, importing, promoting or displaying any

 5    products bearing any simulation, reproduction, counterfeit, copy, or colorable imitation of any

 6    of the Otter Products Trademarks, except as permitted by law or as otherwise authorized or

 7    allowed by Otter Products;

 8           4.      Using any false designation of origin or false or misleading description or false

 9    or misleading representation that can or is likely to lead the trade or public or individuals

10    erroneously to believe that any product has been manufactured, assembled, produced,

11    distributed, displayed, licensed, sponsored, approved or authorized by or for Otter Products,

12    when such is not true in fact;

13           5.      Engaging in any other activity constituting an infringement of any of Otter

14    Products’ Trademarks, or of Otter Products, LLC’s rights in, or right to use or to exploit, such

15    trademarks, services marks and/or copyrights;

16           6.      Selling products on any of Amazon’s websites or any websites participating in

17    any Amazon Affiliate Program;

18           7.      Applying for, opening, or using an Amazon seller account, or applying for

19    participation in any Amazon Affiliate Program; or

20           8.      Assisting, aiding, or abetting any other person or business entity in engaging in

21    or performing any of the activities listed above.

22           DATED this 28th day of February 2019.

23

24                                                   A
                                                     RICARDO S. MARTINEZ
25                                                   CHIEF UNITED STATES DISTRICT JUDGE

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     STIPULATED PERMANENT INJUNCTION - 3                                          Davis Wright Tremaine LLP
                                                                                           L AW O F FI CE S
     (2:18-cv-00350-RSM)                                                             920 Fifth Avenue, Suite 3300
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